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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               )
ANTHONY PERRY,                                 )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )      Civil Action No. 17-cv-1932 (TSC)
                                               )
WILBUR ROSS                                    )
United States Secretary of Commerce,           )
                                               )
               Defendant.                      )
                                               )


                                       SCHEDULING ORDER

        Having considered the parties’ Joint Status Report (ECF No. 23), it is hereby ordered that the

  parties shall brief the issue of whether the Merit Systems Protection Board’s (“MSPB”) decision

  dismissing Plaintiff’s appeal for lack of jurisdiction should be affirmed by this Court. At this

  juncture, the court will not entertain arguments on the underlying discrimination claim.

        Plaintiff shall file his brief by October 15, 2018. Defendant shall file a response by

  November 16, 2018. Plaintiff shall file a reply by November 30, 2018. Sur-reply briefs will not be

  permitted absent leave of court.

        The Plaintiff is hereby reminded of his obligations pursuant to Federal Rule of Civil

Procedure 56, which provides in pertinent part:

        (a) Motion for Summary Judgment or Partial Summary Judgment. A party may move
        for summary judgment, identifying each claim or defense—or the part of each claim or
        defense—on which summary judgment is sought. The court shall grant summary
        judgment if the movant shows that there is no genuine dispute as to any material fact
        and the movant is entitled to judgment as a matter of law. . . .



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(c) Procedures

       (1) Supporting Factual Positions. A party asserting that a fact cannot be or is
       genuinely disputed must support the assertion by:

                 (A) citing to particular parts of materials in the record, including
                     depositions, documents, electronically stored information,
                     affidavits or declarations, stipulations (including those made for
                     purposes of the motion only), admissions, interrogatory answers,
                     or other materials; or

                 (B) showing that the materials cited do not establish the absence or
                     presence of a genuine dispute, or that an adverse party cannot
                     produce admissible evidence to support the fact.

       (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party
       may object that the material cited to support or dispute a fact cannot be
       presented in a form that would be admissible in evidence.

       (3) Materials Not Cited. The court need consider only the cited materials, but
       it may consider other materials in the record.

       (4) Affidavits or Declarations. An affidavit or declaration used to support or
       oppose a motion must be made on personal knowledge, set out facts that would
       be admissible in evidence, and show that the affiant or declarant is competent
       to testify on the matters stated.

                                       . . . .

(e) Failing to Properly Support or Address a Fact. If a party fails to properly support
an assertion of fact or fails to properly address another party’s assertion of fact as
required by Rule 56(c), the court may:

       (1) give an opportunity to properly support or address the fact;

       (2) consider the fact undisputed for purposes of the motion;

       (3) grant summary judgment if the motion and supporting materials—including
           the facts considered undisputed—show that the movant is entitled to it; or

       (4) issue any other appropriate order.




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Fed. R. Civ. P. 56(a), (c), (e). Any failure by the Plaintiff to direct the court to the exhibits

supporting his factual allegations, as well as the specific information upon which he relies within

those exhibits, may result in the court making a determination that he has failed to provide

evidentiary support for those allegations. See Jackson v. Finnegan, Henderson, Farabow, Garrett &

Dunner, 101 F.3d 145, 151 (D.C. Cir. 1996) (upholding District Court’s order striking plaintiff’s

statement of facts where, among other things, the plaintiff’s statement did not contain citations to the

record).

        Plaintiff is also reminded of his obligations pursuant to the Local Civil Rules of this

court. These rules include the requirement that “[a]ll pleadings shall appear in 12-pt. font

and shall be double-spaced. Footnotes, which shall not be excessive, shall also appear in

12-pt. font.” Local Civil Rule 5.1(d). Additionally, the Local Rules provide that “[e]ach

motion shall include or be accompanied by a statement of the specific points of law and authority that

support the motion, including where appropriate a concise statement of facts.” Local Civil Rule 7(a).

        Failure to adhere to the court’s Local Rules, the Federal Rules of Civil Procedure, or

any orders of this court may result in rulings adverse to the Plaintiff and/or dismissal of this

action. The Clerk of the Court shall mail a copy of this order to:

                                ANTHONY PERRY
                                5907 Croom Station Road
                                Upper Marlboro, MD 207722


Date: June 20, 2018

                                                Tanya S. Chutkan
                                                TANYA S. CHUTKAN
                                                United States District Judge


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